                           UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


  S.B., a minor student, by and through his parents,
                                                  )
  M.B. and L.H., et al.,                          )
                                                  )
         Plaintiffs,                              )
                                                  )
  v.                                              ) No. 3:21-cv-00317-JRG-DCP
                                                  )
  GOVERNOR BILL LEE, in his official              )
  capacity as GOVERNOR OF TENNESSEE, and          )
  KNOX COUNTY BOARD OF EDUCATION,                 )
                                                  )
         Defendants.                              )
  ______________________________________________________________________________

                  NOTICE OF DEFENDANT GOVERNOR BILL LEE
               THAT TENATIVE SETTLEMENT WAS NOT APPROVED
               IN ACCORDANCE WITH TENN. CODE ANN. § 20-13-103
  ______________________________________________________________________________

         On July 18, 2022, Plaintiffs S.B., M.S., M.K., and T.W., by and through their parents,

  and Defendant Bill Lee, Governor of the State of Tennessee, filed a Joint Notice of Settlement

  (ECF No. 147.) in this cause. The Joint Notice advised the Court that those parties had reached a

  tentative agreement to settle Plaintiffs’ request for attorney’s fees and costs and to dismiss

  Plaintiffs’ claims against the Governor. The Joint Notice stated that the tentative agreement was

  subject to the approval of the parties of mutually agreeable settlement documentation and the

  approval of the appropriate State of Tennessee constitutional officials in accordance with Tenn.

  Code Ann. § 20-13-103. The purpose of this Notice is to advise the Court that the settlement

  was not so approved.




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                                                 Respectfully submitted,


                                                 JONATHAN SKRMETTI
                                                 ATTORNEY GENERAL AND REPORTER

                                                 /s/ Reed Smith
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                                                 *Admitted Pro Hac Vice

                                                 Counsel for Defendant Governor Bill Lee

                                   CERTIFICATE OF SERVICE

          I hereby certify that on this the 13th day of September 2022, a copy of the foregoing was
  filed electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing report. Parties may access this filing
  through the Court’s electronic filing system.


                                                 /s/ Reed N. Smith
                                                 Reed N. Smith, (VA BN 77334)*
                                                 Assistant Attorney General
                                                 *Admitted pro hac vice




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